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       Case 2:04-cv-09049-DOC-RNB Document 3818-7 Filed 05/27/08 Page 4 of 40 Page ID
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       Case 2:04-cv-09049-DOC-RNB Document 3818-7 Filed 05/27/08 Page 5 of 40 Page ID
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